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 6   Interim Lead Counsel for Indirect-Purchaser Plaintiffs

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 9                               UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION

12   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
13                                                   MDL No. 1917

14                                                   DECLARATION OF MARIO N. ALIOTO
                                                     IN SUPPORT OF INDIRECT-
15                                                   PURCHASER PLAINTIFFS’
                                                     ADMINISTRATIVE MOTION TO SEAL
16                                                   DOCUMENT PURSUANT TO CIVIL
                                                     LOCAL RULES 7-11 AND 79-5(d)_______
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20          I, Mario N. Alioto, declare:
21          1.      I am an attorney licensed to practice before the courts of the State of California,
22   and a partner of the law firm Trump, Alioto, Trump & Prescott LLP, attorneys for the Indirect-
23   Purchaser Plaintiffs. I make this Declaration in Support of Indirect-Purchaser Plaintiffs’ Motion
24   to File Under Seal. I have personal knowledge of the facts stated in this Declaration and, if
25   called as a witness, I could and would testify competently to them.
26          2.      The document or portions of the document submitted under seal contain either (a)
27   material designated by Defendants pursuant to the Stipulated Protective Order (Dkt. 306, June
28   18, 2008) as “Confidential” or “Highly Confidential” or (b) analysis of, references to, or


       ALIOTO DECLARATION IN SUPPORT OF INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE
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 1   information taken directly from material designated by Defendants pursuant to the Stipulated

 2   Protective Order as “Confidential” or “Highly Confidential.”

 3             I declare under penalty of perjury pursuant to the laws of the State of California that the

 4   foregoing statements of fact are true and correct.

 5                    Executed this 28th day of February, 2013 in San Francisco, California.

 6                                                           Respectfully submitted,

 7                                                           /s/ Mario N. Alioto
                                                             Mario N. Alioto
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       ALIOTO DECLARATION IN SUPPORT OF INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE
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